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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION


UNITED STATES OF AMERICA                    )
                                            )                 No. 89cr908-37
v.                                          )      Honorable Rebecca R. Pallmeyer
                                            )
EDWARD WILLIAMS                             )


 JOINT STATEMENT FOR A SENTENCE REDUCTION UNDER § 3582(c)(2)

         Defendant EDWARD WILLIAMS, by the Federal Defender Program and its

attorney, MIANGEL CODY, and the UNITED STATES OF AMERICA, by its attorney

ZACHARY FARDON, submit this joint statement for a sentence reduction pursuant to 18

U.S.C. § 3582(c)(2) and retroactive amendment 782 to the Federal Sentencing Guidelines.

     1. Mr. Williams’s life sentence should be reduced according to the following

calculations: At the May 26, 1992, sentencing, the Court found Mr. Williams to be

responsible for conspiring to distribute 10 kilograms of heroin, resulting in a base offense

level of 36. (Doc. No. 2824, Presentence Report at 5). Mr. Williams received a 4-level

enhancement for his leadership role and a 2-level firearm enhancement. At his original

sentencing, Mr. Williams’s total offense level was 42 and his criminal history score was II,

resulting in a guideline range of 360 months to life. (Doc. No. 2589, Statement of Reason

attached thereto).

     2. Pursuant to USSG Amendment 782, Mr. Williams’s base offense level is now 34,

based upon the Court’s prior drug quantity finding. He continues to receive a two-level

enhancement for a firearm and a four-level enhancement for leadership role. Therefore,
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according to the 2015 Federal Sentencing Guidelines, Mr. Williams’s new total offense level

is 40. Total offense level 40, when combined with criminal history category II, yields a new

guideline range of 324 to 405 months.

    3. Mr. Williams has been imprisoned for 25 years (300 months), as of June 2016. On

December 3, 2014, he received a Letter of Commendation from BOP staff for his

rehabilitative efforts. (Commendation Letter, attached as Exhibit A). Therefore, the factors

codified at 18 U.S.C. § 3553(a) support a sentence recommendation.

    4. The parties agree that Mr. Williams is entitled to a sentence reduction pursuant to

U.S.S.G. Amendment 782 and that his new range is 324 to 405 months.

    5. Defendant Williams’s position is that a sentence of 360 months is sufficient, but not

greater than necessary to accomplish the goals of the Sentencing Reform Act. A sentence of

360 months is also comparable to similarly situated drug defendants in this case and other

cases in this district, thereby avoiding an unwarranted sentencing disparity. A sentence of

360 months would render Mr. Williams eligible for immediate release to a halfway house

facility.

    6. The government makes no specific sentencing recommendation and leaves it to the

court’s discretion where Mr. Williams’s reduced sentence should fall within the newly

applicable range. The government notes that the Court sentenced Mr. Williams to the high

end of the guideline range at his 1992 sentencing.

    WHEREFORE, because it appears that Mr. Williams qualifies for a sentence reduction

under §3582(c)(2) and the sentencing factors under 18 U.S.C. § 3553(a), and the parties agree

to the reduction, it is respectfully requested that the Court reduce the defendant’s sentence
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to a term of imprisonment that falls within the amended guideline range. All other

sentencing findings of fact and conclusions of law should remain undisturbed at this time.


Respectfully submitted,

ZACHARY FARDON                                    CAROL BROOK
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  Exhibit A: BOP Letter of Commendation
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